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jS -'~14 (Rcv, 3»'13)

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CIVIL COVER SHEET

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(a) PLAINTIFFS

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Assoeaiion. Naiionai SEeutt|y Arei‘tive; Naval Hislorieai Foundation; Naval institute Pfess; Otganizalion

of Arnenean Hisioriarts; Socie|y for Mi|:tary Hislory

(b) County oi`Residenee oi`First Listed Piaintiff rl`\;l_§[i{_i§[ld

{EXCEPT !N US. PLAINTTFF`CASES)

{C) Atfol'l'iey$ f.F`l`rm Name` Addres.s" ami T¢'i'e;)hum»Nnmber)

Brendan J. Hea|ey

NOTE:

DEFENDANTS

Attomeys (._'fKnown}

County of` Reside:tee ot`First Listed Defendant
(IN U.S. PLAINT!FF CASES UNLY)

1'N LAND CONDEMNAT[ON CASES, USE THE LOCATlON OF

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ll. BASIS OF JURISDICTION (Piacc an "’t'" in One Bt)x OH.'}#)

 

 

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III. C!TEZENSHIP OF PRINCIPAL PART]ES {Piace an ”'X“'i`n One Box_j§)r Piainig`H'
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SlGNATURE OF ATTORNEY OF RECORD

/s/ Brendan J. Hea|ey

